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                              U NITED STATES D ISTRICT CO U R T
                              SO U TH ERN DISTR ICT O F FLO RIDA

                            CA SE N O .2:17-cr-14047-M lDD LEBRO O K S

    U NITED STA TES O F A M ERICA
                                                                                                  CGA
    VS.
                                                                                  Sep 29, 2017
    SCO TT JO SEPH TM D ER,
                                                                                         Fort Pierce
                 D efendant.
                                           /

                                      PLEA AG R EEM ENT

          TheUnitedStatesAttorney'sOfficefortheSouthernDistrictofFlorida(I'thisOffice''l
   and SCOTT JOSEPH TRADER (hereinafterreferred to asthe i'defendant'')enterinto the
   follow ing agreem ent:

                 The defendantagreesto plead guilty to alltive countsofthe lndid m ent,which

   charge him w ith:Enticem entofa m inorto engage in sexualactivity,in violation of l8 U .S.C.

   j 2422(b) (Count One);Distribution of materialcontaining visualdepictions of sexual
   exploitation ofminors,in violation of l8 U.S.C.jj 2252(*(2) & (b)(1) (CountTwo);
   Possession ofm attercontaining visualdepictionsofsexualexploitation ofm inors,in violation

   of18U.S.C.jj2252(a)(4)(B)& (b)(2)(CountThree);andProduction ofmaterialcontaining
   visualdepictionsofsexualexploitation ofm inors,in violation ofTitle 18 U .S.C jj2251(a)&

   (e)(CountsFourandFive).
                The defendant is aware that the sentence w ill be im posed by the Courtafter

   considering the advisory FederalSentencing Guidelinesand Policy Statements(hereinafter
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   ''SentencingGuidelines'). The defendantacknow ledgesand understands thatthe Courtw ill
   com pute an advisory sentence under the Sentencing G uidelines and that the applicable

   guidelines w ill be determ ined by the Courtrelying in parton the results of a pre-sentence

   investigation by the Court's probation office,which investigation w ill com m ence after the

   guilty plea has been entered. The defendant is also aw are that,undercertain circum stances,

   the Courtm ay departfrom the advisory sentencing guideline range thatithas com puted,and

   m ay raise orlow erthatadvisory sentence underthe Sentencing Guidelines. The defendantis

   further aware and understands thatthe Courtis required to consider the advisory guideline

   range determ ined under the Sentencing Guidelines,but is not bound to im pose a sentence

   w ithin that advisory range'
                              ,the Courtis perm itted to tailor the ultim ate sentence in light of

   otherstatutory concerns,and such sentence m ay be either m ore severe orless severe than the

   Sentencing Guidelines'advisory range.K nowing these facts,the defendantunderstands and

   acknow ledges thatthe Courthas the authority to im pose any sentence within and up to the

   statutory m axim um authorized by 1aw forthe offense identified in paragraph 1 and thatthe

   defendantm ay notw ithdraw the plea solely asa resultofthe sentence im posed.

                 As to Count One,the Courtm ay im pose a term ofim prisonm entof up to life,

   and mustimpose aterm ofimprisonmentofatleastten (10)years,followed by aterm of
   supervised release of atleastfive (5)yearsand up to life. ln in addition to a term of
   imprisonmentand supervised release,the Courtmay imposeafineofup to $250,000.00.

                 Asto CountTw o,the Courtm ay im pose a term ofim prisonm entofup to twenty

   (20)years,and mustimposeaterm ofimprisonmentofatleastfive(5)years,followed by a
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   term ofsupervisedreleaseofatleastfive(5)yearsandupto life. lnin additiontoaterm of
   imprisonmentand supervised release,theCourtmay impose afineofup to $250,000.00.

                  A s to Count Three, the Court may im pose a term of im prisonm ent of up to

   twenty(20)years,followedbyaterm ofsupervisedreleaseofatleastfive(5)yearsandupto
   life. ln in addition to a term ofim prisonm entand supervised release,the Courtm ay im pose

   a fine ofup to $250,000.00.
                  A sto Counts Four& Five each,the Courtm ay im pose a term ofim prisonm ent

   ofuptothirty(30)yearsandmustimposeaterm ofimprisonmentofatleastfiûeen(15)years,
   followedbyaterm ofsupervisedreleaseofatleastfive(5)yearsanduptolife. Ininaddition
   to a term of im prisonm ent and supervised release,the Courtm ay im pose a fine of up to

   $250,000.00.

                  The defendant further understands and acknow ledges that,in addition to any

   sentence im posed under paragraph 3 ofthisagreem ent,a specialassessm entin the am ountof

   $100.00willbe imposed onthedefendantastoeach count(so $500total). Thedefendant
   agrees that any specialassessm ent im posed shall be paid atthe tim e of sentencing. If the

   defendantis financially unable to pay the specialassessm ent,the defendantagrees to present

   evidence to this Office and the Court at the time of sentencing as to the reasons for the

   defendant's failure to pay.

                  ThisO ffice reservesthe rightto inform the Courtand the probation office ofal1

   facts pertinentto the sentencing process,including allrelevant inform ation concerning the

   offenses com m itted, whether charged or not, as w ellas concerning the defendant and the
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   defendant'sbackground. Subjectonly to theexpresstermsofany agreed-upon sentencing
   recom m endations contained in this agreem ent,this Office further reserves the rightto m ake

   any recom m endation asto the quality and quantity ofpunishm ent.

          6.     The O ffice agreesthatitw illrecom m end atsentencing thatthe Courtreduce by

   two levels the sentencing guideline Ievelapplicable to the defendant's offense,pursuant to

   Section 3E1.1 of the Sentencing Guidelines, based upon the defendant's recognition and

   affirm ative and tim ely acceptance ofpersonalresponsibility. lfatthe tim e ofsentencing the

   defendant'soffense levelisdeterm ined to be 16 orgreater,the governm entw illfile a m otion

   requestingan additionalone leveldecreasepursuantto Section 3E1.1(b)ofthe Sentencing
   Guidelines, stating that the defendant has assisted authorities in the investigation or

   prosecution of the defendant's ow n m isconduct by tim ely notifying authorities of the

   defendant's intention to enter a plea of guilty,thereby perm itting the governm ent to avoid

   preparing for trialand pennitting the governm entand the Courtto allocate their resources

   efficiently. However, the O ffice w ill not be required             m ake these sentencing

   recommendationsifthedefendant:(1)failsorrefusesto make full,accurateand complete
   disclosure to the probation office of the circum stances surrounding the relevant offense

   conduct'
          ,(2) is found to have misrepresented facts to the Office priorto entering this
   Agreement;or(3)commitsany misconductafterentering intothisAgreement,including but
   notlim ited to com m itting a state or federaloffense,violating any term of release,orm aking

   false statem ents orm isrepresentationsto any governm entalentity orofficial.

                 The United States and the defendantagree that pursuant to Fed.R.Crim .P.

    11(a)(2),thedefendantreserveshisrightto appealtheDistrictCourt'sOrder(DocketEntry
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    15),denyingdefendant'sM otiontoSuppress(DocketEntry l3). Thisreservationofappellate
   rightsislimitedtotheFourthAmendmentissuesthatthedefendantraised,thatis:(a)whether
   the government's obtaining of subscriber information (namely,an IP address and email
   address)from a socialmedia vompany isa search underthe Fourth Amendment,and (b)
   w hetherthe search warrantin thiscase wassupported by probable cause. The United States

   and the defendantagree that,should the defendant prevailon appeal,he shallbe allow ed to

   withdraw /vacate his plea of guilty to the lndictm ent. The defendant also knowingly and

   voluntarily w aives any claim sor defenses thathe m ay have to the post-apptalreinstatem ent

   ofthe lndictm ent,w hetherthose claim sor defenses arise pursuantto a statute oflim itations,

   the Speedy TrialAct,orthe Sixth A m endm ent'sspeedy trialprovision.

                 The defendant is aw are that the sentence has not yetbeen determ ined by the

   Court. The defendant also is aw are that any estim ate of the probable sentencing range or

   sentence thatthe defendantm ay receive,whether that estiimate com es from the defendant's

   attorney,the governm ent,or the probation oftice,is a prediction,not a prom ise,and is not

   binding on the governm ent,the probation office orthe Court.The defendantunderstands and

   acknow ledges,aspreviously acknow ledged in paragraph 2 above,thatthe defendantm ay not

   w ithdraw hisplea based upon the Court'sdecision notto accepta sentencing recom m endation

   made by the defendant,the government,ora recommendation madejointly by both the
   defendantand the governm ent.

                The defendant also understands and acknow ledges that pursuant to the

   M andatory Restitution for Sex Crim es section ofthe Violence Against W om en A ctof 1994

   (VAW A),codified in Title l8,United States Code,Section 2259,the Courtmustorder
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   restitution be paid to 'kvictim s,''in an am ountthatw illbe determ ined at sentencing or in a

   separate restitution hearing. Defendantagreesthatthe offensessetforth in the Indictm entare

   crim esinvolving the sexualexploitation ofm inors,which relate to and gave rise to thisplea

   agreem ent. The defendantagreesto pay any restitution thatm ay be ordered by thisCourt.

          10.    Defendantagreesto forfeitto the U nited States voluntarily and im m ediately all

   ofhisright,titleandinteresttoany andallpropertywhichissubjecttoforfeiturepursuantto
   Title 18,U nited StatesCode,Section 2253,including the follow ing:

                     a) One(1)Samsung SM-G920T smartphone;
                     b) One(1)LG ()6smartphone;
                     c) One(1)l6GB SanDisk SD card;
                     d) One(1)WD MyPassportUltraexternalharddrive;
                     e) One(1)Samsung SGH-T999smartphone;
                     t) Nine(9)mediastoragecards(consistingoftwoSD cards,fourmicroSD
                        cards,andthreeSIM cards);and
                     g) One(1)ToshibaC65517-55202LaptopComputer
                 Thedefendantagreesthatthe above listed property representsavisualdepiction,

   orany book,m agazine,periodical,tilm ,videotape,orotherm atterw hich contains any such

   visualdepiction,w hich wasproduced,transported,m ailed,shipped orreceived in violation of

   the law ,or property used or intended to be used to com m itor to prom ote the com m ission of

   the offense to which the defendantispleading guilty.

          12.    Defendant further agrees to fully cooperate and assistthe G overnm ent in the

   forfeiture ofthe listed property and to take whatever steps are necessary to pass clear title to

   the U nited States,including,butnotlim ited to,the surrenderofdocum entsoftitle,execution

   ofany docum entsnecessary to transferhis interestin any ofthe above property to the United

   States,execution of a consent to forfeiture or other docum ents as m ay be needed to fully

   accom plish the forfeiture and vest title in the U nited States. D efendant further know ingly
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    and voluntarily waives the following rights as to property subjed to forfeiture:(l) all
    constitutional,legaland equitabledefensesto theforfeitureoftheassetsin anyjudicialor
    administrativeproceeding'
                            ,(2)anyjudicialoradministrativenoticeofforfeitureandrelated
    deadlines;(3)anyjeopardy defenseorclaim ofdoublejeopardy,whetherconstitutionalor
    statutory;(4) any claim or defense under the Eighth Amendmentto the United States
    Constitution,including any claim of excessive fine,to the forfeiture of the property by the

    UnitedStates;and(5)anyrighttoappealanyorderofforfeitureenteredbytheCourtpursuant
   to this plea agreem ent.D efendantfurtherunderstands thatthe forfeiture ofthe property shall

    notbe treated as satisfaction or offsetagainst any tine,restitution, cost of im prisonm ent,or

   any otherpenalty thiscourtm ay im pose on the defendant.

                  Defendantunderstandsthatby pleading guilty,he w illbe required to registeras

   a sex offenderupon hisrelease from prison asa condition ofsupervised release pursuantto 18

   U.S.C.j3583(d). Defendantalsounderstandsthatindependentofsupervisedrelease,hewill
   be subject to federal and state sex offender registration requirements,and that those
   requirem ents m ay apply throughout defendant's life. D efendant understands that he shall

   keep hisregistration current,shallnotify the state sex offenderregistration agency oragencits

   ofany changesto defendant'snam e,placeofresidence,em ploym ent, orstudentstatus,orother

   relevant inform ation. Defendant shall com ply w ith requirements to periodically verify in

   person defendant'ssex offenderregistration inform ation. Defendantunderstandsthathe will

   be subjectto possible federaland state penaltiesforfailure to comply with any such sex
   offender registration requirem ents. lf defendant resides in Florida follow ing release from

   prison,defendanlwillbe subjectto the registration requirements ofFlorida State Statute
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    sections 775.2l, 943.0435, and any related statutes governing Florida registration

    requirements. Defendantfurtherunderstandsthat,under18U.S.C.j4042(c),noticewillbe
    providtd to certain law enforcem ent agencies upon defendant's release from confinem ent

    follow ing conviction.

           14.    Asacondition ofsupervised release,defendantshallinitially registerwith the

    state sex offender registration in Florida,and shallalso register w ith the state sex offender

   registration agency in any state w here defendantresides,is em ployed, w orks,or isa student,

   asdirected by the Probation Officer. D efendantshallcom ply with allrequirem entsoffederal

   and state sex offender registration law s, including the requirem ent to update defendant's

   registration inform ation. Defendant shall provide proof of registration to the Probation

   O fficerwithin 72 hours ofrelease from im prisonm ent.

           15.   This is the entire agreem ent and understanding between this Oftice and the

   defendant. There are no otheragreem ents,prom ises,representations, orunderstandings.

                                                 BEN JA M IN G .G REEN BERG
                                                 A CTIN G UN IT STATES A TTORN EY

   Date:                               By:
                                                 M AR      N      RES
                                                 A SS          T UN ITED STA TES ATTO RN EY


   Date: % zf                                &                              wv
                                                 FLETCHER PEA COCK
                                                 A TTO RN EY FOR D EFEN D AN T

   Date:#>/r/                              A           v
                                                 SCOTT JO SEPH TRAD ER
                                                 D EFEN D AN T




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